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* Motion for admission
pro hac vice forthcoming


                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MONTANA
                                 HELENA DIVISION


 DONALD J. TRUMP FOR PRESIDENT,
 INC., REPUBLICAN NATIONAL
 COMMITTEE, NATIONAL
 REPUBLICAN SENATORIAL
 COMMITTEE; MONTANA                       No. 6:20-cv-00066-DLC
 REPUBLICAN STATE CENTRAL
 COMMITTEE,

                  Plaintiffs,             PLAINTIFFS’ MOTION FOR
                                          PRELIMINARY INJUNCTION
        v.

 STEPHEN BULLOCK, in his official
 capacity as Governor of Montana; COREY
 STAPLETON, in his official capacity as
 Secretary of State of Montana,

                  Defendants.
          Case 6:20-cv-00066-DLC Document 8 Filed 09/02/20 Page 2 of 3



       Plaintiffs hereby move for a preliminary injunction enjoining enforcement of Defendant

Governor Stephen Bullock’s August 6, 2020 directive, see Ex. 1, which usurps the role reserved

for the Montana State Legislature in controlling the time, place, and manner of congressional

elections and the manner of selecting electors for the presidency. This motion is based on

the memorandum, declaration, and exhibits filed herewith, and the pleadings on file.



Dated: September 2, 2020                             Respectfully submitted,

                                                     /s/ James Brown
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                                                     pro hac vice filed




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                                CERTIFICATE OF SERVICE

       I hereby certify that I caused the foregoing document to be served via first class U.S. Mail

on September 2, 2020, on all defendants:

Governor Stephen Bullock
PO Box 200801
Helena, MT 59620-0801

Secretary of State Corey Stapleton
Montana Capitol Building, Rm 260
P.O. Box 202801
Helena, MT 59620-2801

                                                      /s/ James Brown
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